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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 1:24-CV-24066-CMA

    ALAN GUERECA individually and on behalf of all
    others similarly situated,

                         Plaintiff,
           v.

    MOTORSPORT.TV DIGITAL, LLC,

                         Defendant.

    ORDER GRANTING JOINT MOTION TO CONDUCT VIRTUAL MEDIATION AND
             APPOINTING WAYNE R. ANDERSEN AS MEDIATOR

          THIS CAUSE comes before the Court upon the Parties’ Joint Motion to Conduct Virtual

   Mediation and to Appoint the Wayne R. Andersen as Mediator.

   Upon review, it is ORDERED THAT:

          The Motion is GRANTED. Wayne R. Andersen is appointed as mediator and, for the

   reasons provided in the Joint Motion, the mediation may be conducted remotely.

          DONE AND OREDRED this _____ day of __________, 2025.

                                                               _____________________
                                                               CECILIA M. ALTONAGA
                                                               Chief United States District Judge


   cc: All counsel of Record
